Case 1:15-cv-07433-LAP Document 1007 Filed 11/12/19 Page 1of1

Haddon, Morgan and Foreman, P.c
Laura A. Menninger

150 East 10th Avenue

Denver, Colorado 80203

PH 303.831.7364 Fx 303.832.2628
www.hmflaw.com
LMenninger@hmflaw.com

HADDON
MORGAN
FOREMAN

November 12, 2019

Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: October 28, 2019 Order (Doc.998)
Giuffre v. Ghislaine Maxwell, No. 15 Civ. 7433 (LAP)

Dear Judge Preska:

Pursuant to this Court’s Order of October 28, 2019 (Doc.998) at paragraph 1, Ms.
Maxwell hereby submits her list of motions that were decided in this case (by docket number)
together with the docket numbers of the motion papers associated with each such motion.

Counsel for Ms. Maxwell organized her list beginning with the motion that was
decided, together with the docket number and date the motion was decided. Below the motion
are all of the associated motion papers. Also included are which of the motions and associated
papers were redacted or sealed.

Despite extensive conferrals with Plaintiff's counsel, the parties were unable to reach
agreement on two motions. Ms. Maxwell submits that the motions associated with docket
entries 468 and 567 were never resolved by the Court and has omitted those motions from her
list. With regard to 468, the Court specifically directed the parties to meet and confer and
then “advise me of any issues that remain.” With regard to DE 567, the hearing on April 5,
2017 covered a wide range of topics. The transcript of the hearing reveals that the issues
raised by DE 567 were never resolved.

Ms. Maxwell seeks leave of the Court to submit her list under seal because some of the
contents thereto contain references to sealed or redacted materials.

Very truly yours,

ax Cy

aura A. Menninger

  

CC: Counsel of Record via ECF
